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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION



     NAVY SEAL 1, et al.,

           Plaintiffs,

     v.                                             CASE NO. 8:21-cv-2429-SDM-TGW

     LLOYD AUSTIN, et al.,

           Defendants.
     __________________________________/


                                           ORDER

           The defendants’ unopposed motion (Doc. 187) for leave to respond to the

     plaintiffs’ supplemental memorandum in support of class certification is

     GRANTED. Not later than MAY 23, 2022, the defendants may respond in a paper

     not exceeding twenty pages.

           ORDERED in Tampa, Florida, on May 16, 2022.
